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     SAN MATEO COUNTY, DEPUTY CHRIS LAUGHLIN,
 9   and DEPUTY ERIC MICHEL
10

11                                UNITED STATES DISTRICT COURT

12                               NORTHERN DISTRICT OF CALIFORNIA

13

14   RICHARD EARL MAY,                         Case No. 3:16-cv-00252 LB

15                 Plaintiffs,                 DEFENDANTS’ MOTION IN LIMINE NO. 2 TO
                                               EXCLUDE EVIDENCE OF PHYSICAL INJURY
16        vs.                                  TO PLAINTIFF OTHER THAN INJURIES TO
                                               HIS RIGHT LEG
17   SAN MATEO COUNTY, et al.,
                                                         Hearing
18                 Defendants.
                                               Date:     May 18, 2017
19                                             Time:     1:00 p.m.
                                               Dept:     C, 15th Floor
20
                                               THE HONORABLE LAUREL BEELER
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                                               TRIAL DATE: June 5, 2017
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           DEFENDANTS’ MOTION IN LIMINE NO. 2 TO EXCLUDE EVIDENCE OF PHYSICAL INJURY TO
                               PLAINTIFF OTHER THAN INJURIES TO HIS RIGHT LEG
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 1                                             NOTICE OF MOTION
 2           PLEASE TAKE NOTICE on May 18, 2017, at 1:00 p.m., or as soon thereafter as the matter may

 3   be heard, before the Honorable Laurel Beeler, in Courtroom C of the above-captioned court, located at

 4   450 Golden Gate Avenue, 15th Floor, San Francisco, CA, Defendants San Mateo County (“County”),

 5   Sheriff’s Deputy Chris Laughlin, and Sheriff’s Deputy Eric Michel (collectively, “Defendants”) will and

 6   hereby do move the court for an order prohibiting Plaintiff from presenting certain evidence at trial, in

 7   particular:

 8           Evidence, testimony, and/or argument regarding any other physical injuries Plaintiff may have

 9   suffered as a result of the incident on January 1, 2015, other than those to his right leg.
10           This motion is based upon this Notice of Motion and Motion, the accompanying Memorandum of
11   Points and Authorities, and any other matters which the Court in its discretion may allow.
12                                                     MOTION
13   I.      INTRODUCTION
14           Plaintiff is seeking damages solely for injuries to his right leg. (Dep. Tr. of Richard Earl May

15   (“May Dep.”) 135:12-19.) Indeed, the only injuries he describes in his complaint are those to his right

16   leg (ECF No. 44, ¶ 25), and at his request the Court limited discovery of his medical records “to those

17   about the leg injury and any pre-existing injury or other condition that affects the [P]laintiff’s right leg”

18   (ECF No. 35, p. 2:6-8). Therefore, Defendants move to exclude at trial evidence, testimony, and/or

19   argument regarding any other physical injuries he may have suffered as a result of the incident on

20   January 1, 2015, other than those to his right leg.
21   II.     ARGUMENT
22           Plaintiff refused to allow discovery of any other physical injuries and, as a result, he cannot offer
23   evidence of such injuries at trial. See Fed. R. Civ. Proc. 37(c)(1). Furthermore, evidence of other
24   physical injuries is irrelevant because Plaintiff expressly stated he is only seeking damages for the
25   physical injuries he suffered to his right leg. (May Dep. 135:12-19.) Plaintiff might argue that evidence

26   of alleged injuries to his left leg are relevant to his expert’s opinion that Riggs could have bit Plaintiff in

27   the left leg during the first deployment. (Dep. Tr. of Ernest Burwell (“Burwell Dep.”) 97:8-98:25.)

28   However, that opinion directly contradicts Plaintiff’s own testimony that Riggs nudged him in the arm,
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                                 PLAINTIFF OTHER THAN INJURIES TO HIS RIGHT LEG
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 1   not the leg, during the first deployment and his admission that he suffered no physical injury as a result

 2   of the first deployment. (May Dep. 64:19-25; Plaintiff’s Response to Defendants’ Requests for

 3   Admission, RFA No. 1.) Therefore, the opinion is unsupported and improper. See Fed. R. Evid. 702(d).

 4   Plaintiff might also argue that any additional alleged physical injuries he suffered show that Riggs “has a

 5   problem with biting.” (Burwell Dep. 119:15-122:24.) However, Plaintiff’s alleged physical injuries

 6   from a single incident cannot possibly form the basis for an opinion that Riggs has a more general

 7   problem with biting. 1 See Fed. R. Evid. 702(b).
 8           Given the questionable relevancy of any other alleged physical injuries Plaintiff might have

 9   suffered during the incident, the probative value of such evidence would be outweighed by unfair
10   prejudice to Defendants and confusion of the jury. See Fed. R. Evid. 403. Essentially, Plaintiff wants to

11   characterize Riggs as an uncontrolled animal that bit him not just in the right leg, but in other places of

12   his body. That characterization is unfounded and unfairly prejudicial. Also, because Plaintiff is only

13   seeking damages for the physical injuries he suffered to this right leg, having the jury consider other

14   alleged physical injuries for which no damages are sought would be confusing.

15   III.    CONCLUSION
16           Based on the foregoing, the Court should granted Defendants’ Motion in Limine No. 2 and

17   exclude at trial evidence, testimony, and/or argument regarding any physical injuries Plaintiff may have

18   suffered as a result of the incident on January 1, 2015, other than those to his right leg.

19   Dated: April 20, 2017                                     Respectfully submitted,

20                                                             JOHN C. BEIERS, COUNTY COUNSEL
21
                                                               By:               /s/
22                                                                     Justin W. Mates, Deputy
                                                                       Brian E. Kulich, Deputy
23                                                                     Maggie V. Tides, Deputy
24                                                             Attorneys for Defendants
                                                               COUNTY OF SAN MATEO, DEPUTY CHRIS
25                                                             LAUGHLIN and DEPUTY ERIC MICHEL
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27   1
      See also Defendants’ Motion in Limine No. 9 which addresses Mr. Burwell’s opinion on this issue in
     more detail.
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                                  PLAINTIFF OTHER THAN INJURIES TO HIS RIGHT LEG
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       DEFENDANTS’ MOTION IN LIMINE NO. 2 TO EXCLUDE EVIDENCE OF PHYSICAL INJURY TO
                           PLAINTIFF OTHER THAN INJURIES TO HIS RIGHT LEG
